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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :      Criminal No. 21-cr-52-3 (TJK)
                                              :
MATTHEW GREENE,                               :
                                              :
                       Defendant.             :

                                      JOINT STATUS UPDATE

       The United States of America, by and through its attorney the United States Attorney for

the District of Columbia, and defendant Matthew Greene, by and through his attorneys Michael

Kasmarek and Michael Spano, hereby notify the Court that defendant Greene’s cooperation

remains ongoing.     The parties request that the Court set another deadline, in approximately 120

days, at which the parties can provide a further update.   The parties do not request that the Court

set a sentencing date at this time.

       Undersigned counsel has conferred with Michael Kasmarek, Esq., counsel for Matthew

Greene, and counsel advised that undersigned counsel may file this as a joint notice.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              DC Bar No. 481052


                                        By:     /s/ Erik M. Kenerson
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